988 F.2d 1280
    300 U.S.App.D.C. 322
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Sylvester JONES, Appellant,v.William K. SUTER, Clerk, United States Supreme Court, et al.
    No. 91-5429.
    United States Court of Appeals, District of Columbia Circuit.
    March 2, 1993.Rehearing and Rehearing En BancDenied April 9, 1993.
    
      Appeal From The United States District Court For The District of Columbia.
      DDC
      AFFIRMED.
      Before MIKVA, Chief Judge, and STEPHEN F. WILLIAMS and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the brief filed by the appellant.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir. Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed September 27, 1991 be affirmed.   The district court did not abuse its discretion in dismissing Jones' complaint as frivolous pursuant to 28 U.S.C. § 1915(d) (1988).   See Denton v. Hernandez, 112 S.Ct. 1728, 1734 (1992);   Neitzke v. Williams, 490 U.S. 319, 325 (1989).   Similarly, where it is "patently obvious" that plaintiff cannot prevail on the facts alleged in the complaint,  see Baker v. Director, United States Parole Comm'n, 916 F.2d 725, 726-27 (D.C.Cir.1990) (per curiam), dismissal pursuant to FED.R.CIV.P. 12(b)(6) is appropriate as well.   It is
    
    
      3
      FURTHER ORDERED that appellant's motion for summary judgment by default be dismissed as moot.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    